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 1   DONALD H. HELLER, SBN 55717
     DONALD H. HELLER,
 2   A Law Corporation
 3   3638 American River Drive
     Sacramento, CA 95825
 4   Tel: (916) 974-3500
     Fax: (916) 520-3497
 5   E-mail: dheller@donaldhellerlaw.com
 6
 7   ATTORNEYS FOR DEFENDANT
     Jorge Eguiluz
 8
 9
                         IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA                    CASE NO. 2:17-cr-00053-JAM
13                             Plaintiff,
14                                               STIPULATION TO MODIFYING TRAVEL
     vs.                                         RESTRICTIONS, TEMPORARY RELEASE
15                                               OF PASSPORT AND PROPOSED ORDER
      JORGE EGUILUZ,
16
17                             Defendant.

18
19
             IT IS HEREBY stipulated by and between the United States of America
20
     through its undersigned counsel, Kevin C. Khasigian, Esq., Assistant United States
21
22   Attorney, and Donald H. Heller, Esq., counsel for defendant Jorge Eguiluz, that the

23   restrictions on travel previously imposed upon the defendant be modified to permit
24   the defendant to travel to and from the city of Mexico City, Country of Mexico from
25
     his place of residence in Stockton, California Country of Mexico, through Phoenix,
26
     Arizona from December 22, 2018 and returning to Stockton on January 2, 2019, for
27
28   the purpose of a holiday visit with defendant Jorge Eguiluz’s family residing in the


                                    1
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 1   Country of Mexico. [Exhibit A], Itinerary for said travel on American Airlines
 2   Attached].
 3
            Defendant Eguiluz on December 18, 2018 was granted a similar order
 4
     modifying his travel to and from Mexico, and the release of his passport by the Hon.
 5
 6   Deborah Barnes, United States Magistrate Judge (Doc. 75). The defendant received

 7   his passport from the Clerk of Court on December 19, 2017, (Doc. 79), and there
 8
     after traveled to and from Mexico and returned his passport to the Clerk of the Court
 9
     on January 4, 2018. (Doc. 83).
10
11          The has been advised by Mr. Heller and the defendant is aware of the Notice

12   to Defendant Being Released executed by the defendant on April 10, 2017, remains
13   in full force and effect, specifically that it is a criminal offense under Title 18 U.S.C.
14
     §3146, if, after having been released, the defendant knowingly fails to appear as
15
16   required by the conditions of release, that the penalty for failing to appear is a term

17   of 10 years consecutive to the term of imprisonment for any of the federal offenses
18   charged in the Indictment and that both he and his former wife, Estela Alfaro, are
19
     subject to the forfeiture of the sum of $200,000, the sum posted by both of them to
20
     secure the defendant’s appearance.
21
22          Mr. Heller contacted United States Pretrial Services Office Steven Sheehan

23   and advised Mr. Sheehan of this impending trip to Mexico. Defendant Eguiluz is not
24
     on Pretrial Services Supervision but was interviewed at the time of Mr. Eguiluz’s
25
     voluntary surrender in January 2017 by Pretrial Service’s Office Mike Evans. Mr.
26
27   Sheehan has inherited the Eguiluz file. Mr. Sheehan has no objection to the this

28   stipulation.

                                    2
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
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 1            The United States Passport in the name of the Defendant, previously
 2   surrendered by the Defendant to the United States District Court, and presently in
 3
     the possession of the Clerk of this Court, be delivered to the defendant in
 4
     compliance with this Order at the Clerk’s office during regular business hours and
 5
 6   that said Passport be returned to the United States District Court Clerk in

 7   compliance with this Order no later than January 3, 2019.
 8
              It is further Stipulated that the United States Passport in the name of the
 9
     Defendant, surrender by the Defendant to the United States District Court, presently
10
11   in the possession of the Clerk of this Court, be returned by the United States District

12   Court Clerk of this District in compliance with this Order and to be returned to the
13   Clerk of the Court no later than January 5, 2018.
14
     IT IS SO STIPULATED.
15
     Dated:     December 10, 2018                      DONALD H. HELLER,
16                                                     A Law Corporation
17                                                     /s/ Donald H. Heller
18                                                     DONALD H. HELLER
19                                                     Attorney for Defendant
                                                       Jorge Eguiluz
20
     Dated:     December 10, 2018                      MCGREGOR W. SCOTT
21
                                                       United States Attorney
22
                                                       /s/ Kevin C. Khasigian by Donald H.
23                                                     Heller with Authorization

24
                                                       KEVIN C. KHASIGIAN
25                                                     Assistant U.S. Attorney
                                                       Attorney for the United States
26
27
28

                                    3
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
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 1            I have read and understand this stipulation and the consequences of failing to
 2   appear in accordance with this order and promise and agree to comply with its
 3
     terms.
 4
     Dated: December 10, 2018
 5                                                     JORGE EQUILUZ
 6                                                     Defendant

 7
                                      [PROPOSED] ORDER
 8
              Good cause appearing, based on the stipulation of counsel for the parties
 9   stated above it is hereby Ordered that
10            1. The restrictions on travel previously imposed upon the defendant be
11
     modified to permit to and from the Mexico City, Country of Mexico through Phoenix,
12
     Arizona from his place of residence in Stockton, California from December 22, 2018
13
14   and returning to Stockton on January 3, 2019, for the purpose of a holiday visit with

15   defendant Jorge Eguiluz’s family residing in the Country of Mexico.
16
              2. The United States Passport in the name of the Defendant, previously
17
     surrendered by the Defendant to the United States District Court, and presently in
18
19   the possession of the Clerk of this Court, be delivered to the defendant in

20   compliance with this Order at the Clerk’s office during regular business hours; and
21            3. That said Passport be returned to the United States District Court Clerk in
22
     compliance with this Order no later than January 4, 2019.
23
24
     Dated: December 10, 2018
25
26
27
28

                                    4
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
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